Case 21-42957-elm7 Doc 33 Filed 06/03/22           Entered 06/03/22 10:51:40   Page 1 of 12



John Dee Spicer
State Bar No. 18930500
Leah Duncan
State Bar No. 24114061
CAVAZOS HENDRICKS POIROT, P.C.
Suite 570, Founders Square
900 Jackson Street
Dallas, TX 75202
Phone: (214) 573-7310
Fax: (214) 573-7399
Email: lbundage@chfirm.com

Attorneys for John Dee Spicer, Chapter 7 Trustee

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION
_____________________________________
                                      §
In Re:                                §   Case No. 21-42957-elm7
                                      §
TEXAS COMM. COMPANY, LLC,             §   Hearing Date: July 6, 2022
                                      §   Hearing Time: 1:30 P.M.
            Debtor.                   §
_____________________________________ §

        TRUSTEE’S MOTION TO SELL PROPERTY OF THE ESTATE
                            NOTICE TO ALL INTERESTED PARTIES:
A HEARING ON THE ABOVE REFERENCED MOTION IS SCHEDULED TO BE HELD
BEFORE THE HONORABLE BANKRUPTCY JUDGE EDWARD L. MORRIS AT
ROOM 204, U.S. COURTHOUSE, 501 W. TENTH STREET, FORT WORTH, TEXAS
76102 ON JULY 6, 2022, AT 1:30 P.M. WHICH IS AT LEAST TWENTY-ONE (21)
DAYS OR MORE FROM THE DATE OF SERVICE HEREOF.

ANY OBJECTION OR RESPONSE MUST BE IN WRITING AND FILED WITH THE
CLERK OF THE UNITED STATES BANKRUPTCY COURT AT 501 W. TENTH
STREET, FORT WORTH, TX 76102, AND A COPY MUST BE SERVED UPON
COUNSEL FOR THE MOVING PARTY ON OR BEFORE JUNE 24, 2022, WHICH
DATE IS AT LEAST TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE
HEREOF. IF AN OBJECTION OR RESPONSE IS FILED, A HEARING WILL BE HELD
WITH NOTICE ONLY TO THE OBJECTING/RESPONDING PARTY.

IF NO OBJECTION OR RESPONSE IS TIMELY FILED, THE RELIEF REQUESTED
SHALL BE DEEMED TO BE UNOPPOSED AND THE COURT MAY ENTER AN
ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE
TAKEN.


Trustee’s Motion to Sell Property of the Estate                                  Page 1 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                     Entered 06/03/22 10:51:40             Page 2 of 12




TO THE HONORABLE EDWARD L. MORRIS, U.S. BANKRUPTCY JUDGE:

        John Dee Spicer, the Chapter 7 Trustee (the “Trustee”), files this Trustee’s Motion to Sell

Property of the Estate (the “Motion”) for entry of an order, substantially in the form of the

proposed order attached hereto, and in support would respectfully show the Court as follows:

                                      JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this matter under 28 U.S.C. § 1334. This is a core

proceeding under 28 U.S.C. § 157(b)(1) and (b)(2)(A) and (N). Authority to grant the relief

requested is provided by 11 U.S.C. § 363 and Bankruptcy Rule 6004.

                                       FACTUAL BACKGROUND

    A. The Debtor’s Previous Chapter 11 Case

        2.       Texas Comm. Company, LLC (the “Debtor”) filed a voluntary chapter 11 petition

on February 6, 2019, under Case No. 19-40571-mxm11 (the “Chapter 11 Case”).

        3.       On June 7, 2019, Ally Financial (“Ally”) filed its Motion for Relief from the

Automatic Stay [Docket No. 70 filed in the Chapter 11 Case] (“Ally’s MFRS”) 1 requesting the

court’s approval to take possession of and to enforce its security interest in the following ten

vehicles: 2008 Ford F-750, VIN: 3FRXF75S68V072293; 2018 Chevrolet Silverado, VIN:

1GCRCNECXJZ213744; 2015 Chevrolet Silverado, VIN: 1GB4KYCGXFF532644; 2014

Chevrolet Silverado, VIN: 1GC1KXCG6EF185983; 2018 Chevrolet Silverado, VIN:

1GC1CUEG1JF180435; 2014 Chevrolet Silverado, VIN: 1GB4CZC80EF170768; 2007 Chevrolet

C4500, VIN: 1GBE4C1G57F423627; 2017 Ford F150, VIN: 1FTFW1RG4HFA97436; 2017

Chevrolet Express, VIN: 1GCWGAFF2H1346841; and 2015 Chevrolet Silverado, VIN:

1GB4KYCG0FF534399 (“Ally’s Collateral”). In Ally’s MFRS, it asserted that the “Debtor is


1
  All pleadings referenced under this section of the Motion, “A. The Debtor’s Previous Chapter 11 Case”, shall refer
to the pleadings filed in the Chapter 11 Case.

Trustee’s Motion to Sell Property of the Estate                                                        Page 2 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                       Entered 06/03/22 10:51:40               Page 3 of 12




attempting to include the Collateral 2 in the bankruptcy assets; however, the titles to the Collateral

show that Debtor Texas Comm. Company LLC is not the owner of the Collateral.” [See paragraph

14 to Ally’s MFRS].

         4.       In response to Ally’s MFRS, the Debtor filed its Debtor’s Objection to Motion for

Relief from Stay [Docket No. 79 in the Chapter 11 Case 3] (“Debtor’s Objection to Ally’s MFRS”).

In response to Ally’s allegation that the Debtor is not the owner of Ally’s Collateral, the Debtor

alleged the following: “Debtor admits that the title to the vehicles are in the name of its owner.

However, the vehicles were purchased for the benefit and use of the Debtor and are necessary to

an effective reorganization of the Debtor.” [See paragraph 14 to Debtor’s Objection to Ally’s

MFRS] 4.

         5.       As a result of Ally’s MFRS and the Debtor’s Objection to Ally’s MFRS, the Debtor

and Ally reached an agreement for settlement in which the Debtor was required to maintain

continuous insurance coverage, listing Ally Financial as loss payee, and authorized and directed

to pay Ally for Ally’s Collateral [Docket No. 88 in the Chapter 11 Case 5].

         6.       On information and belief, the Debtor obtained insurance coverage through

National General Auto, Home & Health Insurance (“National General”) to cover Ally’s Collateral,

for the policy period of 12/6/2018 – 12/6/2019, with policy number ending in 28255 6 (the

“Insurance Policy”).




2
  As defined in the Ally’s MFRS.
3
  Filed on June 21, 2019.
4
  Based on a title search, the Vehicles (as defined later in this Motion) are either titled in the name of the Debtor or
in the name of Steven Wayne Robinson (“Robinson”). Despite some of the Vehicles being titled in the name of
Robinson, the Debtor and Robinson previously have taken the position that the Vehicles are property of the Debtor.
Additionally, payments (outlined later in this Motion) for the Vehicles and the premiums on the insurance policy to
cover the Vehicles were made by the Debtor.
5
  Agreed Order entered on July 12, 2019.
6
  As part of the Trustee’s request to the Debtor (outlined later in this Motion), the Debtor provided a copy of the
Insurance Policy.

Trustee’s Motion to Sell Property of the Estate                                                             Page 3 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                     Entered 06/03/22 10:51:40               Page 4 of 12




         7.       The Debtor’s confirmed Plan in the Chapter 11 Case [Docket Nos. 67, 86, and 90

filed in the Chapter 11 Case 7], reflects the Debtor 8 is to pay Ally 9 in full for Ally’s Collateral in

the monthly amount of $5,433.10 10 over sixty (60) months.

         8.       Upon review of the Debtor’s Quarterly Operating Reports and Quarterly Bank

Reconcilement [Docket Nos. 109, 126, 128, 134 11] (collectively, the “Quarterly Reports”), it

appears the Debtor made – at minimum – the below listed payments to Ally for Ally’s Collateral:

    Date on Check                  Description                  Amount          Docket No. Reflecting Same
    Unable to decipher          Payable to: Ally Bank           $3,325.38                               126
                                    Check No.: 30817
                             Memo: 19-45071-mxm 60
                                payments @ $3,325.38
              11/15/2019     Payable to: Ally Financial         $2,759.64                                        126
                                    Check No.: 30864
                             Memo: 19-45071-mxm 60
                                payments @ $2,759.64
              11/19/2019        Payable to: Ally Bank           $3,325.38                                        126
                                    Check No.: 30891
                             Memo: 19-45071-mxm 60
                                payments @ $3,325.38
               1/11/2020        Payable to: Ally Bank           $3,325.38                                        128
                                    Check No.: 31090
                             Memo: 19-45071-mxm 60
                                payments @ $3,325.38
               1/21/2020        Payable to: Ally Bank           $2,988.90                                        128
                                    Check No.: 31110
                             Memo: 19-45071-mxm 60
                                payments @ $3,325.38
               1/21/2020     Payable to: Ally Financial         $8,062.68                                        128

7
  Plan of Reorganization Dated June 6, 2019, and filed on June 6, 2019 [Docket No. 67]; First Modification to Plan
of Reorganization Date June 6, 2019, and filed on July 11, 2019 [Docket No. 86]; and Order Confirming Debtor’s
Plan of Reorganization Dated June 6, 2019, as Modified, and Approving Disclosure Statement Dated June 6, 2019,
was entered on July 17, 2019 [Docket No. 90].
8
  This further reflects the Debtor maintained control over the Vehicles despite some titles to the Vehicles being held
by Robinson.
9
  Ally is referenced as both “Ally Bank” and “Ally Financial”.
10
   Ally is listed as two separate classes with the following payments listed: 1) Class 3 Claim, payment of $2,679.62 a
month; and 2) Class 4 Claim, payment of $2,753.48 a month. Total amount for both classes is $5,433.10 ($2,679.62
+ $2,753.48 = $5,433.10).
11
   Quarterly Operating Report and Quarterly Bank Reconcilement [Docket No. 109] was filed on October 21, 2019;
Quarterly Operating Report and Quarterly Bank Reconcilement [Docket No. 126] was filed on January 22, 2020;
Quarterly Operating Report and Quarterly Bank Reconcilement [Docket No. 128] was filed on April 15, 2020; and
Quarterly Operating Report and Quarterly Bank Reconcilement [Docket No. 134] was filed on July 20, 2020.

Trustee’s Motion to Sell Property of the Estate                                                          Page 4 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                     Entered 06/03/22 10:51:40             Page 5 of 12




                              Check No.: 31111
                       Memo: 19-45071-mxm 60
                          payments @ $2,759.64
              3/4/2020 Payable to: Ally Financial $2,759.64                                                    128
                              Check No.: 31242
                       Memo: 19-45071-mxm 60
                          payments @ $2,759.64
             3/13/2020    Payable to: Ally Bank $3,325.38                                                      128
                              Check No.: 31277
                       Memo: 19-45071-mxm 60
                          payments @ $3,325.38


        9.       The Quarterly Reports reflect the below listed payments made to National General,

which on information and belief were for the Insurance Policy covering Ally’s Collateral 12:

        Date of             Description                         Amount         Docket No. Reflecting Same
      Transaction
           7/30/2019 National General Payment                   $3,166.58                                      109
                                *****28255-06
           8/23/2019 National General Payment                     $100.40                                      109
                                *****28255-06
             9/6/2019 National General Payment                  $6,473.32                                      109
                                *****28255-06
           11/8/2019 National General Payment                   $3,421.38                                      126
                                *****28255-06
          12/10/2019 National General Payment                   $3,995.30                                      126
                                *****28255-06
           1/24/2020 National General Payment                   $3,624.17                                      128
                                *****28255-07
           2/25/2020 National General Payment                   $3,624.17                                      128
                                *****28255-07
           3/27/2020 National General Payment                   $3,624.17                                      128
                                *****28255-07
           4/27/2020 National General Payment                   $3,624.17                                      134
                                *****28255-07
           5/27/2020 National General Payment                   $3,613.87                                      134
                                *****28255-07
           6/26/2020 National General Payment                   $3,613.83                                      134
                                *****28255-07




12
   The numbers “28255” in the description of the withdrawal match the same last five digits of the Insurance Policy
provided to the Trustee by the Debtor.

Trustee’s Motion to Sell Property of the Estate                                                        Page 5 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                      Entered 06/03/22 10:51:40              Page 6 of 12




          10.     On July 21, 2020, the Order Granting Application to Enter Final Decree and Close

Case [Docket No. 135] was entered and the Chapter 11 Case was closed (the “Chapter 11 Close

Date”).

     B. The Debtor’s Current Chapter 7 Filing

          11.     Approximately five (5) months after the Chapter 11 Close Date, or on or about

December 22, 2022, the Debtor filed its voluntary chapter 7 petition.

          12.     The Trustee is the duly appointed and acting Chapter 7 Trustee in this case.

          13.     On January 11, 2022, the Debtor filed its Schedules [Docket No. 13] (the

“Schedules”).

          14.     The Debtor scheduled the below listed vehicles (collectively, the “Vehicles”) on its

Schedules 13:

                      a. 2008 Ford F-750, VIN: 3FRXF75S68V072293;

                      b. 2018 Chevrolet Silverado, VIN: 1GCRCNECXJZ213744;

                      c. 2015 Chevrolet Silverado, VIN: 1GB4KYCGXFF532644;

                      d. 2014 Chevrolet Silverado, VIN: 1GC1KXCG6EF185983;

                      e. 2018 Chevrolet Silverado, VIN: 1GC1CUEG1JF180435;

                      f. 2014 Chevrolet Silverado, VIN: 1GB4CZC80EF170768;

                      g. 2007 Chevrolet C4500, VIN: 1GBE4C1G57F423627;

                      h. 2017 Ford F150, VIN: 1FTFW1RG4HFA97436; and

                      i. 2015 Chevrolet Silverado, VIN: 1GB4KYCG0FF534399.




13
  Ally’s Collateral from the Chapter 11 Case included ten (10) vehicles. Of those, only nine (9) vehicles were
scheduled on the Debtor’s Schedules and, as such, are defined as the Vehicles herein. It is these nine Vehicles that
are included in this Motion.

Trustee’s Motion to Sell Property of the Estate                                                          Page 6 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                       Entered 06/03/22 10:51:40               Page 7 of 12




         15.      The Debtor’s Schedules indicate that Ally, with the mailing address of PO Box

78234, Phoenix, AZ 85062-8234 has a blanket security interest in the Vehicles. The amount

scheduled as owing to Ally as of the petition date is $87,300.00 (“Ally’s Lien”) 14.

         16.      The Trustee has made numerous requests to Ally and the Debtor regarding the

Vehicles. Below is a summary of such requests and any responses received:

               a. January 18, 2022: At the Meeting of Creditors, the Trustee requested from the

                  Debtor’s representative – among other information – addresses where the Vehicles

                  are located (Texas and Oklahoma) and a copy of any insurance policy carried within

                  two years of the Debtor filing this case (“First Request to Debtor”).

               b. February 24, 2022: Call to Debtor’s counsel, from the Trustee’s counsel, regarding

                  documents still needed from First Request to Debtor (“Second Request to Debtor”).

               c. March 3, 2022: Email to Debtor’s counsel, from the Trustee’s counsel, regarding

                  documents still needed from First Request to Debtor (“Third Request to Debtor”).

               d. March 4, 2022: Email to Debtor’s counsel, from Trustee’s counsel, regarding

                  documents still needed from First Request to Debtor and requesting location of keys

                  for the Vehicles (“Fourth Request to Debtor”).

               e. March 7, 2022: The Trustee received information regarding the location of the

                  Vehicles and keys, and a copy of the National General Insurance Policy for the

                  Vehicles.

               f. March 8, 2022: Call to Ally, from Trustee’s counsel, regarding the Vehicles (“First

                  Request to Ally”).



14
   According to a title search of the Vehicles, there is a security interest in all Vehicles held by either GMAC or Ally
Financial. On information and belief, Ally is the successor in interest to GMAC and Ally is currently holds a
security interest in the Vehicles.

Trustee’s Motion to Sell Property of the Estate                                                            Page 7 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22             Entered 06/03/22 10:51:40         Page 8 of 12




            g. March 9, 2022: Call and email to Ally, from Trustee’s counsel, regarding First

                Request to Ally. Also requested Ally to provide the following to the Trustee: a copy

                of the agreement between the Debtor and Ally as it relates to the Vehicles,

                outstanding balance on the Vehicles, whether Ally intends to make an appearance

                in the bankruptcy case, and whether Ally intends on picking up the Vehicles.

                Response deadline provided to Ally: March 15, 2022 (“Second Request to Ally”).

            h. March 17, 2022: Email to Ally, from Trustee’s counsel, regarding the Second

                Request to Ally and advising Ally that, absent a response from Ally, the Trustee

                would proceed with selling the Vehicles and requesting an administrative expense

                surcharge (as approved by the court) against any and all funds received from such

                sale. Response deadline provided to Ally: Monday, March 21, 2022 (“Third

                Request to Ally”).

            i. March 23, 2022: Trustee’s counsel sent a letter, via email, to Debtor’s counsel

                requesting – in part – copies of any and all Certificates of Titles in the Debtor’s

                possession for all vehicles or equipment including the Vehicles subject to this

                Motion. Response deadline, for this portion of the letter, provided to Debtor was

                March 30, 2022 (“First Letter Request to Debtor”).

            j. March 30, 2022: In response to First Letter Request to Debtor, the Debtor’s

                representative stated it does not have any titles. A spreadsheet provided by the

                Debtor appears to reflect the following are in possession of some titles: 1) Mary; 2)

                Allied; 3) Steve; and 4) Ally.

            k. May 5, 2022: Trustee’s counsel sent a second letter, via email, to Debtor’s counsel

                inquiring – in part – about the titles that “Steve” has possession of, as reflected by



Trustee’s Motion to Sell Property of the Estate                                           Page 8 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                        Entered 06/03/22 10:51:40   Page 9 of 12




                    the spreadsheet provided by the Debtor on March 20, 2022. Response deadline:

                    May 11, 2022 (“Second Letter Request to Debtor”).

                l. March 30, 2022: Trustee’s counsel sent letter, via first class mail, to Ally (to the

                    addresses listed below), requesting a copy of the documents creating any financial

                    obligation between the parties, as well as any document attaching and perfecting a

                    security interest (including as reflected on Vehicle titles) in the Vehicles, as

                    referenced in the Debtor’s Schedules; the payoff amount for each vehicle; and the

                    identification of any Vehicle in which a secured obligation has been paid in full.

                    Ally was informed again of the Trustee’s intent to sell the Vehicles and to seek a

                    surcharge against the sales proceeds for administrative expenses. A copy of the

                    following documents were included in the letter: 1) copy of the emails sent in

                    Second Request to Ally and Third Request to Ally; 2) Notice of Chapter 7

                    Bankruptcy Case; 3) the Order Granting Trustee’s Application for Employment of

                    Attorney; and 4) the Trustee’s Application for Employment of Auctioneer.

                    Response deadline provided to Ally: April 8, 2022 (“Fourth Request to Ally”).

                         i. Ally; PO Box 78234, Phoenix, AZ 85062-8234; and

                         ii. Ally; PO Box 130424, Roseville, MN 55113-0004.

                m. April 1, 2022: Call and email to Newark Law Firm 15 (“Newark”), from the

                    Trustee’s counsel, regarding the Vehicles and the unsuccessful attempts to contact

                    Ally. Trustee emailed Newark a copy of the letter from Fourth Request to Ally.

                n. April 4, 2022: Newark acknowledged receipt of email received and stated Ally was

                    “looking into this matter.”



15
     Newark represented Ally as a creditor in a different bankruptcy case.

Trustee’s Motion to Sell Property of the Estate                                               Page 9 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                     Entered 06/03/22 10:51:40    Page 10 of 12




                 o. April 12, 2022: Call and email to attorney Patrick M. Lynch 16 (“Ally’s Attorney in

                    the Chapter 11 Case”), from the Trustee’s counsel, regarding the Vehicles.

                    Trustee’s email to Ally’s Attorney in the Chapter 11 Case included a copy of the

                    letter sent in Fourth Request to Ally.

                 p. April 18, 2022: The Trustee’s counsel left a voicemail for Ally’s Attorney in the

                    Chapter 11 Case to follow up regarding the Vehicles.

                 q. April 19, 2022: Call from the Trustee’s counsel with Ally’s Attorney in the Chapter

                    11 Case regarding the Vehicles. Update provided: Ally’s Attorney in the Chapter

                    11 Case has not heard back from Ally.

                 r. May 11, 2022: In response to the Second Letter Request to Debtor, the Debtor’s

                    representative stated, “No titles. The list you are referring to was from 2019 chap

                    11.”

           17.      The Trustee has been unsuccessful in his attempts to resolve the issues surrounding

the Vehicles even after undertaking the communications set out in Paragraph 16.

           18.      The Trustee has put Ally on notice numerous times of his intent to sell the Vehicles

and to seek a surcharge against the sales proceeds for administrative expenses. Ally has failed to

respond to any of the Trustee’s attempts and has not made an appearance in this case.

                                            RELIEF REQUESTED

           19.      On April 19, 2022, the Court authorized the Trustee to employ Rosen Systems, Inc.

to serve as his auctioneer for the purpose of selling the Vehicles [Docket No. 32].

           20.      The Trustee desires to sell the Vehicles, pursuant to 11 U.S.C. § 363(b), at an online

auction to the highest bidder free and clear of liens (including but not limited to Ally’s Lien),



16
     Patrick M. Lynch represented Ally in the Chapter 11 Case.

Trustee’s Motion to Sell Property of the Estate                                              Page 10 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22                   Entered 06/03/22 10:51:40              Page 11 of 12




claims, and encumbrances with all liens, claims, and encumbrances, if any, attaching to the sale

proceeds after the Trustee surcharges such proceeds for his administrative expenses.

        21.      The     online     auction     is   to    be    conducted      by    Rosen      Systems,      Inc.

(www.rosensystems.com) with bidding to start on July 12, 2022. Bidding will have a rolling close

on July 19, 2022 starting at 10:00 A.M., with one lot per minute closing until all lots are sold.

        22.      Inspection will take place by appointment on July 18, 2022 from 10:00A.M.

through 3:00 P.M. at 2323 Langford Street, Dallas, Texas 75208. Sale of the Vehicles in the

auction is as is, where is. The Trustee requests that this Court enter an order authorizing the sale

of the Vehicles at auction to the highest bidder, free and clear of liens (including but not limited to

Ally’s Lien), claims, and encumbrances, pursuant to 11 U.S.C. § 363(f), with all liens, claims, and

encumbrances, if any, attaching to the proceeds of such sale after the Trustee surcharges such

proceeds for his administrative expenses. The Trustee requests that this Court authorize the

Trustee to sign any documentation and take all actions necessary to effectuate the auction and sale

of the Vehicles, including obtaining new titles for all Vehicles 17. The Trustee further requests that

this Court allow waive the fourteen (14) day stay pursuant to Rule 6004(h) and authorize the sale

effective immediately upon entry of an order approving this Motion.

        23.      Wherefore, premises considered, the Trustee requests that this Court enter an order

authorizing the sale of the Vehicles by auction, free and clear of liens (including but not limited to

Ally’s Lien), claims, and encumbrances, pursuant to 11 U.S.C. § 363(f), with all liens, claims, and

encumbrances, if any, attaching to the proceeds of such sale after the Trustee surcharges such

proceeds for his administrative expenses. The Trustee further requests that this Court waive the


17
  Due to the Trustee’s inability to obtain the Titles of the Vehicles after numerous attempts (as reflected in
paragraph 16 of this Motion), the Trustee will need to request new titles from the Texas Department of Motor
Vehicles (“Texas DMV”). An alternative option to obtain titles of a vehicle, available by the Texas DMV, is with a
court order.

Trustee’s Motion to Sell Property of the Estate                                                      Page 11 of 12
Case 21-42957-elm7 Doc 33 Filed 06/03/22              Entered 06/03/22 10:51:40      Page 12 of 12




fourteen (14) day stay pursuant to Rule 6004(h) and authorize the sale effective immediately upon

entry of an order approving this Motion.



                                          Respectfully submitted,

                                          /s/ Leah Duncan
                                          John Dee Spicer
                                          State Bar No. 18930500
                                          Leah Duncan
                                          State Bar No. 24114061
                                          CAVAZOS HENDRICKS POIROT, P.C.
                                          Suite 570, Founders Square
                                          900 Jackson Street
                                          Dallas, TX 75202
                                          Phone: (214) 573-7310
                                          Fax: (214) 573-7399
                                          Email: lbundage@chfirm.com

                                          Attorneys for John Dee Spicer, Chapter 7 Trustee




Trustee’s Motion to Sell Property of the Estate                                         Page 12 of 12
